Case 5:20-cv-02618-JWH-kk Document 173-5

GCOVEENMENT OF DUBAI

Service License

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License Number
Account No.
Licensee Name

Branch Name

Operating Name

Issue Date

Expiry Date
Country of Origin
Manager Name

DUNS Number

Unit No: 3005-B
Jumeirah Bay Tower X3
Plot No: JLT-PH2-X3A
Jumeirah Lakes Towers
Dubai
UAE

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MTK GLOBAL SPORTS
MANAGEMENT L.L.C

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MANAGEMENT L.L.C (DMCC
BRANCH)

MTK GLOBAL SPORTS
MANAGEMENT L.L.C (DMCC
BRANCH)

15-Feb-2018
14-Feb-2021

United Arab Emirates

Alexandra Louise Thomson
McClumpha

1. Sport Clubs & Facilities Management

Remarks: Branch of a Local Company.
Subject to Approval and Conditions of

DMCC-403062
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General Authority of Youth & Sports
Welfare.
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